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 9                            UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
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12    JOSEPH FRIAS,                                       Case No.: 3:22-CV-00675-JO-AHG
                                        Plaintiff,
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      v.                                                  ORDER GRANTING IN PART AND
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                                                          DENYING IN PART DEFENDANTS’
15    COUNTY OF SAN DIEGO, et al.,
                                                          MOTION FOR SUMMARY
                                     Defendants.          JUDGMENT
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20          Plaintiff Joseph Frias brought this civil rights action pursuant to 42 U.S.C. § 1983.
21    Dkt. 42 (“Third Am. Compl.”). He alleges that, while he was housed at the George Bailey
22    Detention Center, various San Diego County Sheriff Deputies used excessive force to
23    restrain him while he was suffering from seizures. See id. The five deputies and two
24    supervisory officers named in the complaint along with San Diego County (collectively
25    “Defendants”) filed a motion for summary judgment on all of Plaintiff’s claims. See Dkt.
26    92-1 (“Mot. Summ. J.”). For the reasons stated below, the Court grants in part and denies
27    in part Defendants’ motion.
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 1                                            I. BACKGROUND
 2    A. Deputies Le, Jacobo, and Bohan Moved Plaintiff to the Medical Area After He
 3    Fought Other Inmates
 4           On March 9, 2021, Plaintiff Joseph Frias, a pretrial detainee at the George Bailey
 5    Detention Facility, fought numerous other inmates while intoxicated and then was pepper-
 6    sprayed as a result. Dkt. 99-1 (“SUF”) ¶¶ 1–6. On that day, Plaintiff consumed “two to
 7    three” cups of pruno (jail-made alcohol) and engaged in three fights with other inmates at
 8    the county jail. Id. To break up the third fight, the deputies on duty pepper-sprayed
 9    Plaintiff’s face. Id. ¶ 8. Subsequently, to decontaminate Plaintiff of the pepper spray,
10    Deputies Steven Le, Johan Jacobo, and Bret Bohan escorted him from the jail’s housing
11    area to its medical area. Id. ¶¶ 42, 59, 68–69.
12           While on the way to the medical area, Plaintiff informed Deputies Le, Jacobo, and
13    Bohan multiple times that he was going to have a seizure. Id. ¶ 9; Dkt. 99-3 (“Frias Dep.”)
14    at 16:3–19. Specifically, Plaintiff remembers telling them, “[l]ook, I’m going to have a
15    seizure. I am having an aura. I’m going to have a seizure. I can’t breathe.” Id. at 16:14–
16    16. Shortly thereafter, Plaintiff blacked out on account of what he believes was a seizure.
17    SUF ¶ 9. In addition to this warning, Plaintiff had previously reported to county jail
18    medical staff that he is epileptic and that he has experienced seizures while in custody. See
19    Dkts. 99-13 (“Pl.’s Ex. 12”), 99-14 (“Pl.’s Ex. 13”). 1 Because he blacked out, Plaintiff has
20    no further recollection of the events until he later woke up at the hospital.2 SUF ¶ 9.
21    B. Deputy Le Held Plaintiff Down While in the Medical Holding Cell
22           After Plaintiff arrived at the medical area, multiple deputies observed Plaintiff’s
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25             The County objects to Plaintiff’s medical chart on relevancy grounds. Dkt. 107-1 (“Defs.’ Evid.
      Obj.”) at 4. The Court OVERRULES this objection because the medical chart, which states that Plaintiff
26    suffers from a seizure disorder, does make a fact of consequence—whether Plaintiff was suffering a
      seizure on March 9, 2021—more probable. See Fed. R. Evid. 401.
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             The remaining facts in the record are from the accounts of medical staff and officers on the scene.
28    See SUF ¶ 9.

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 1    body tense up and shake back and forth. Upon Plaintiff’s arrival, medical staff washed the
 2    pepper spray from Plaintiff’s face. SUF ¶ 10. During this initial treatment, Plaintiff
 3    frequently spit blood and saliva and appeared disoriented and confused. Id.; Dkts. 99-6
 4    (“Le Report”) at 2, 99-7 (“Bohan Report”) at 3. After decontaminating Plaintiff, medical
 5    personnel placed him in an adjacent medical holding cell for further evaluation. SUF ¶ 11.
 6    After Plaintiff was in the holding cell for a short period of time, Deputy Le noticed Plaintiff
 7    lying stiffly with his arms “rigid[ly]” stuck out, appearing as if he were “uncomfortable”
 8    and in “medical duress.” Id. ¶ 12; Dkt. 92-2 (“Defs.’ Exs.”) at 75:19–76:3, 77:4–24; Le
 9    Report at 2. Concerned, Deputy Le tried to get Plaintiff’s attention but Plaintiff was
10    “unresponsive.” Defs.’ Exs. at 83:12–84:6. Subsequently, Deputy Le observed Plaintiff’s
11    body occasionally “shake almost as if he were seizing.” Le Report at 3. In light of
12    Plaintiff’s condition, Deputy Le believed that Plaintiff was unconscious and experiencing
13    a seizure. Dkt. 99-5 (“Le Dep.”) at 39:14–40:7, 50:11–51:11. From outside the holding
14    tank, Deputy Bohan observed Plaintiff in a state of “medical distress” and Deputy Jacobo
15    even saw Plaintiff “thrash” “his entire body from side to side.” Bohan Report at 3; Dkt.
16    99-8 (“Jacobo Report”) at 2.
17          Despite Deputy Le’s impression that Plaintiff might be experiencing a seizure, he
18    decided to restrain Plaintiff by holding him down. Upon seeing Plaintiff in this state,
19    Deputy Le yelled for medical staff to come. SUF ¶ 12; Defs.’ Exs. at 81:10–82:11. Le
20    then checked Plaintiff’s airways to ensure that he was breathing and not choking on account
21    of having a seizure. Defs.’ Exs. at 82:16–83:11. Next, Deputy Le turned Plaintiff on his
22    side to put him in the “recovery position,” which is a side-lying position that aids an
23    individual’s breathing. Id. at 127:9–128:4; Le Report at 3; SUF ¶ 44. Despite Plaintiff’s
24    body being rigid and shaking as if “seizing,” Deputy Le used both of his hands to apply
25    downward pressure on Plaintiff’s hip and ribs to keep him in this position. Le Report at 3;
26    Bohan Report at 3. The current record evidence indicates that Deputy Le took these actions
27    of his own accord; there is nothing indicating that medical staff directed Deputy Le to apply
28    pressure and hold Plaintiff in this manner.

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 1          While Deputy Le was in the medical holding cell with Plaintiff, both Deputy Andrew
 2    Tapia and Lieutenant Roberto Martinez arrived at the scene. Upon arriving at the medical
 3    holding cell, Deputy Tapia found Deputy Le “tendi[ng] to” Plaintiff. SUF ¶ 79. In the
 4    same timeframe, Lieutenant Martinez, a supervisor of the deputies, also came and stood
 5    five feet outside the medical holding cell to provide support after he was notified about an
 6    incident requiring medical attention. Dkt. 99-26 (“Martinez Dep.”) at 5:13–6:14; Defs.’
 7    Exs. at 405:17–406:4. While standing in the hallway, a deputy updated Lieutenant
 8    Martinez of Plaintiff’s earlier fighting and his subsequent pepper-spraying and
 9    decontamination at the medical area. SUF ¶ 93; Martinez Dep. at 6:3–9. Lieutenant
10    Martinez also heard Plaintiff yelling, prompting the deputy to inform Lieutenant Martinez
11    that Plaintiff was likely intoxicated from drinking pruno. Martinez Dep. at 6:9–12.
12    Lieutenant Martinez, however, did not have a “direct visual” of Plaintiff at the time and
13    thus, did not observe that Plaintiff was unresponsive. Defs.’ Exs. at 416:16–24, 422:8–9.
14    He also was not advised that Plaintiff had exhibited seizure-like activity, such as “shaking,
15    stiffening his body in and out, [or] small body tremors” or that Plaintiff was in “medical
16    distress” beyond his intoxication. Id. at 420:23–421:7; Martinez Dep. at 8:16–24.
17    C. Deputies Le and Tapia Held Plaintiff Down in a Wheelchair for Medical
18    Examination
19          Subsequently, Deputies Tapia, Jacobo, Bohan and Le (collectively, “the Deputies”)
20    transported Plaintiff in a wheelchair to the medical examination room for medical care.
21    SUF ¶ 13. They did so at the request of medical staff who determined that Plaintiff needed
22    to be moved to the medical examination room across the hallway for treatment. SUF ¶ 12.
23    At this time, Plaintiff was exhibiting symptoms like “slurred speech,” “disorient[ation],”
24    “spitting,” and an inability to “stand on his own,” or “keep his balance.” Jacobo Report at
25    2; Dkt. 99-17 (“Tapia Report”) at 2. Deputies Tapia, Jacobo, and Le helped move Plaintiff
26    into the chair as he “thrash[ed]” around. Tapia Report at 2; Jacobo Report at 2. When the
27    Deputies were transporting Plaintiff in the wheelchair, they encountered Lieutenant
28    Martinez in the hallway. Martinez Dep. at 11:5–14. Lieutenant Martinez observed that

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 1    Plaintiff had vomit on his chin and shirt and smelled of alcohol at the time. Id.
 2           Shortly after being transported to the medical examination room, Plaintiff continued
 3    to exhibit behaviors like thrashing while his back arched and his body lifted out of the
 4    wheelchair. When Plaintiff arrived, some medical staff were already present in the
 5    examination room, but it is unclear who. Defs.’ Exs. at 88:7–15. When Nurse Ruby Udan
 6    arrived, she saw Plaintiff being attended to by multiple nurses and Dr. John Gill.3 Dkt. 92-
 7    9 (“Udan Decl.”) ¶ 4. Initially, Nurse Udan noted that Plaintiff was “sitting upright in [the]
 8    wheelchair,” “awake,” “restless,” and had “slurred speech.” Defs.’ Exs. at 318. He also
 9    was throwing up on himself and spitting fluid. Bohan Report at 3. However, shortly
10    thereafter, Plaintiff was again in a state of “medical duress.” Le Report at 3. He exhibited
11    “jerking movement[s],” and “his torso would arch backwards, and his body would lift out
12    of the chair,” and “his legs [became] stiff and pushed outward” as if he was “trying to stand
13    up out of [the] chair while leaning back.” Udan Decl. ¶ 5; Le Report at 3; Defs.’ Exs. at
14    90:12–18. In light of Plaintiff’s behavior, Deputy Le thought Plaintiff was possibly
15    experiencing “seizure activity.” Defs.’ Exs. at 100:16–23.
16           In response, Deputies Le and Tapia used force to restrain Plaintiff’s movements to
17    keep him from falling out of the wheelchair and to allow medical staff to examine him.
18    Because of Plaintiff’s erratic movements, Deputy Le pushed down on Plaintiff’s shoulder
19    and upper back. Le Report at 3. Similarly, Deputy Tapia pressed down on Plaintiff’s
20    shoulder. Tapia Report at 3. Deputy Le claims that he decided, without advisement from
21    medical staff, to apply just enough force to prevent Plaintiff from “tipping backwards or
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                Plaintiff objects to the following of Defendants’ Exhibits: Udan Decl. ¶ 14; Dkt. 92-9 (“Irwin
25    Decl.”) ¶¶ 6, 7, 11, 12, 13; and Dkt. 92-8 (“Magno Decl.”) ¶¶ 4, 5. Dkt. 99-2 (“Pl.’s Evid. Obj.”) at 2–7.
      Plaintiff asserts that these statements—all of which discuss the medical need to keep Plaintiff in the
26    recovery position—lack foundation and are inconsistent with prior statements. Id. The Court
      OVERRULES these objections because (1) all three declarants were present on March 9, 2021, and thus,
27    have an adequate foundation from which to testify, see Fed. R. Evid. 602; and (2) these identified
      statements are not inconsistent, but rather mirror the declarants’ medical notes, compare Defs.’ Exs. at
28    312–21 with Udan Decl., Irwin Decl., and Magno Decl.

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 1    falling out of the chair.” Defs.’ Exs. at 130:16–131:7. Additionally, as Deputy Le thought
 2    that Plaintiff was suffering from a “medical emergency,” he thought this force was
 3    necessary to ensure that medical personnel could evaluate and treat Plaintiff. Id. at 103:6–
 4    9. Likewise, Deputy Tapia reported that he applied this force to prevent Plaintiff from
 5    leaving the chair and “possibly harming himself or others.” Tapia Report at 3. Around
 6    this time, Nurse Kevin Irwin arrived to find Plaintiff “attempt[ing] to stand up out of the
 7    wheelchair” and deputies “us[ing] their hands to keep [Plaintiff] sitting down in the
 8    wheelchair.” Dkt. 92-9 (“Irwin Decl.”) ¶ 4. While Nurse Irwin later attested that the
 9    Deputies were “needed” to make Plaintiff “sit in the wheelchair for safety reasons” and so
10    that he “could medically assess [Plaintiff],” there is no evidence he instructed the any of
11    the four deputies to do so—rather, they began applying pressure before Nurse Irwin
12    arrived. Id. After Deputies Le and Tapia applied this force, they effectively restrained
13    Plaintiff in the chair, preventing him from standing up. Tapia Report at 3. While Plaintiff
14    was in the wheelchair, Nurse Irwin took Plaintiff’s vital signs and attempted to monitor
15    Plaintiff’s oxygen levels.4 Irwin Decl. ¶ 5; Defs.’ Exs. at 313.
16           During this time, Lieutenant Martinez was also able to observe some of Plaintiff’s
17    actions while he was standing outside in the hallway adjacent to the medical examination
18    room. Martinez Dep. at 11:12–14. From his vantage point, Lieutenant Martinez witnessed
19    Plaintiff repeatedly try to stand up in an unbalanced and uncoordinated manner despite the
20    Deputies’ instructions to stay calm and seated. Id. at 6:15–19.; Defs.’ Exs. at 418:8–
21    419:12. Lieutenant Martinez also noted that Plaintiff was unstable, slurring his speech,
22    and yelling at the Deputies. Martinez Dep. at 6:20–22; Defs.’ Exs. at 418:8–419:12. Yet,
23    Lieutenant Martinez also testified that he did not remember seeing Deputy Le or Plaintiff’s
24    back arching or his legs straightening. Defs.’ Exs. at 419:16–420:17. Based on his training
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               Specifically, Nurse Irwin remembers that he “would attempt to put the 02 oxygen saturation
      monitor on [Plaintiff’s] finger, and [Plaintiff] would remove it from his finger using another finger.” Irwin
28    Decl. ¶ 5.

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 1    and experience, Lieutenant Martinez claimed that he “knew that [Plaintiff] was under the
 2    influence of pruno” and expected that he may need to be sent to another facility that had
 3    sobering cells, which George Bailey Detention Facility lacked. Id. at 408:15–19, 410:8–
 4    19. However, Lieutenant Martinez also prepared to address Plaintiff’s issue as a medical
 5    problem, recognizing that Plaintiff may need to be sent to the hospital instead. Id. at 410:8–
 6    23.
 7    D. The Deputies Held Plaintiff in the Recovery Position for Medical Treatment and
 8    Monitoring
 9          While seated in the wheelchair in the medical examination room, Plaintiff began
10    exhibiting trouble breathing, prompting medical staff to request that the Deputies place him
11    in recovery position. As Deputies Le and Tapia held Plaintiff down in the wheelchair, he
12    became restless and verbally aggressive, and repeatedly tried to stand up, to resist their
13    attempts to keep him in the wheelchair, and to refuse medical service. Irwin Decl. ¶¶ 4–7;
14    Bohan Report at 3. But, shortly thereafter, Plaintiff slumped over and began snoring. Udan
15    Decl. ¶ 5. Nurse Udan soon recognized that Plaintiff was unresponsive and that his
16    breathing was slow. Id. To aid Plaintiff’s breathing and facilitate medical care, medical
17    staff requested that the Deputies move Plaintiff from the wheelchair and place him in the
18    recovery position on the ground. SUF ¶ 18. Deputies Le, Jacobo, and Tapia immediately
19    did so. Id. ¶¶ 50, 62, 82.
20           Once in the recovery position, Plaintiff proceeded to squirm, requiring Deputies Le,
21    Jacobo, and Tapia to apply pressure to keep him still for medical care. On the floor,
22    Plaintiff seemed “visibly confused and appeared to be in medical distress.” Bohan Report
23    at 3. As Plaintiff “thrashed his body,” “kicked his legs,” and was “constantly moving,”
24    Deputy Le applied downward pressure using his right knee and hands on Plaintiff’s hip
25    and ribs to keep Plaintiff in the recovery position. Bohan Report at 3; Le Report at 3; Dkt.
26    92-8 (“Magno Decl.”) ¶ 4. Likewise, to limit Plaintiff’s movement, Deputy Jacobo applied
27    downward pressure on Plaintiff’s left shoulder using his right hand as Deputy Tapia applied
28    pressure on Plaintiff’s legs with his hands. Jacobo Report at 2; Tapia Report at 3. At some

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 1    point, Dr. Gill called 911 requesting an ambulance to bring Plaintiff to emergency care.
 2    Defs.’ Exs. at 320.
 3          Due to their efforts, Deputies Le, Jacobo, and Tapia were able to maintain Plaintiff
 4    in the recovery position so that medical staff could begin treating his condition. Le Report
 5    at 3; Jacobo Report at 2; Tapia Report at 3. To resuscitate Plaintiff, Nurse Udan performed
 6    rescue breathing by using a manual resuscitator and employed a tool to remove brownish
 7    secretions from his airways. Udan Decl. ¶ 6. Dr. Gill also inserted a nasal trumpet into
 8    Plaintiff’s nose. Id. In response, Plaintiff seemed to wake up and gag, ultimately vomiting
 9    three times. Id. ¶ 7. Nurse Irwin, Nurse Udan, and Nurse Claudette Magno—who later
10    arrived—all affirmed that holding Plaintiff in the recovery position was critical as it
11    permitted medical staff to provide care, assess Plaintiff’s airways, and ensure that Plaintiff
12    did not choke on his own throw up. Id. ¶¶ 6, 13; Irwin Decl. ¶¶ 7–8, 11; Magno Decl. ¶ 5.
13          After vomiting, Plaintiff appeared more alert and began moving even more,
14    interfering with the medical staff’s ability to keep him in the recovery position. Plaintiff
15    appeared upset and disoriented, and began resisting Deputies Le’s, Tapia’s, and Jacobo’s
16    pressure by tensing his body and thrashing and kicking more intensely. Bohan Report at
17    3; Le Report at 3; Defs.’ Exs. at 107:6–108:5, 112:21–113:2, 222:5–15. Plaintiff also
18    repeatedly swung his arms around and jerked his torso back and forth as he moved; spat
19    and yelled for the deputies to let him go; and tried to “throw himself up.” Defs.’ Exs. at
20    107:6–108:5, 222:5–15. During this period, Plaintiff still needed to be held in the recovery
21    position so medical staff, including Dr. Gill, could keep assessing his airways, and keep
22    his vitals stable. Udan Decl. ¶ 9; Irwin Decl. ¶ 10. In treating Plaintiff, many of the
23    medical staff believed Plaintiff was suffering from alcohol intoxication and not
24    experiencing a seizure. Udan Decl. ¶ 14; Irwin Decl. ¶ 11.
25          Given Plaintiff’s uptick in movement, the Deputies responded in kind. Deputy Tapia
26    made sure only to “meet his resistance with even resistance to prevent any movement,”
27    never applying his full body weight. Defs.’ Exs. at 263:10–13. In addition, Deputy Bohan,
28    who had not previously been holding Plaintiff, joined in by applying downward pressure

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 1    on Plaintiff’s arms to prevent further movement. Bohan Report at 3. Deputy Bohan
 2    asserted that he only applied force in response to Plaintiff’s resistance and that whenever
 3    Plaintiff stopped, he lightened his pressure. Defs.’ Exs. at 230:6–12. Deputy Le also
 4    maintained his downward pressure on Plaintiff’s hip and ribs, reasoning that this was
 5    necessary to prevent staff, who were still trying to medically treat and observe Plaintiff,
 6    from being hurt. Le Report at 3. Similarly, Deputy Jacobo maintained minimal downward
 7    pressure on Plaintiff’s left shoulder but would release his force whenever Plaintiff stopped
 8    thrashing. Defs.’ Exs. at 168:13–22. Nurse Irwin attested that if the Deputies had not kept
 9    Plaintiff in this position, he would not have “been able to safely assess him and maintain
10    his airway” while waiting for paramedics to arrive. Irwin Decl. ¶ 13. After waking up,
11    Plaintiff yelled out “you guys fucking hurt me”—a remark Nurse Magno found surprising
12    given that the Deputies “were only holding him in place.” Magno Decl. ¶ 4.
13    E. The Deputies Placed Plaintiff in a WRAP Device While Waiting for Paramedics
14           When another deputy, Deputy Bret Banaga, arrived at the medical examination
15    room, Deputies Jacobo, Le, Tapia, and Bohan were holding Plaintiff on the floor in
16    recovery position. Dkt. 99-10 (“Banaga Report”) at 2. To Deputy Banaga, who had been
17    summoned to help prepare Plaintiff for transport to the hospital, Plaintiff appeared to be
18    “resist[ing] medical attention by rolling from shoulder to shoulder on his back,” “tensing
19    his body,” and “pulling his legs in” towards his chest in order to “stand up.” Id. Deputy
20    Banaga, therefore, joined the other deputies in holding Plaintiff in the recovery position.
21    Id. Specifically, Deputy Banaga placed his shins on top of Plaintiff’s calves for about 45
22    seconds to maintain control of Plaintiff’s legs. Id.
23          Because they believed that Plaintiff was attempting to stand up, the five deputies
24    decided to place Plaintiff in a WRAP restraint device to control his leg movements. A
25    WRAP device is “a maximum-restraint device” that consists of “three parts,” including “a
26    chest piece, a leg piece that wraps around the legs, and . . . a yellow ankle strap which is
27    tied around the ankles.” Defs.’ Exs. at 180:2–5. Deputy Banaga reported that they
28    collectively applied the WRAP’s ankle strap only—not the entire device—to Plaintiff’s

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 1    ankles.5 Banaga Report at 3. While Deputy Banaga technically put the strap on Plaintiff,
 2    Deputies Tapia, Le, Jacobo, and Bohan aided in this endeavor: Deputy Tapia held
 3    Plaintiff’s legs down while the other three deputies held Plaintiff in the recovery position
 4    so that Deputy Banaga could do so. Defs.’ Exs. at 234:12–235:19, 272:12–19. By placing
 5    the ankle strap on Plaintiff, they effectively locked Plaintiff’s feet together, enabling them
 6    to maintain control of his legs. Banaga Report at 3; Defs.’ Exs. at 182:9–13. Deputy
 7    Banaga explained that he applied the strap to stop Plaintiff from kicking so that they could
 8    safely and rapidly transfer Plaintiff to the gurney once the paramedics arrived. Banaga
 9    Report at 3; Defs.’ Exs. at 282:4–11. While Deputy Banaga believed that failing to apply
10    the ankle strap would delay Plaintiff’s trip to the hospital and thus, his access to medical
11    care, there is no evidence in the record that medical staff communicated any urgency to
12    him or the other four deputies. Defs.’ Exs. at 281:8–282:11. By the time they applied the
13    ankle strap, Plaintiff had already been taken out of regular handcuffs and put in waist
14    chains—a device that include chains around the torso and attached handcuffs at each side—
15    which are customary for transporting inmates. Id. at 268:20–22, 315–16. After securing
16    Plaintiff, the five deputies waited for the paramedics to arrive and take Plaintiff to the
17    hospital. SUF ¶ 24. Deputy Le estimated that they collectively held Plaintiff in the
18    recovery position for a total of ten to fifteen minutes until the paramedics arrived. Le
19    Report at 3. Nurses Irwin and Magno and Dr. Gill also remained with Plaintiff until the
20    paramedics arrived and transported him to the hospital. Irwin Decl. ¶ 10; Defs.’ Exs. at
21    315–16, 320–21. Plaintiff’s vital signs remained stable throughout this time. Irwin Decl.
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                 The parties argue over whether there is a material dispute of fact as to whether the Deputies
25    applied the entire WRAP device or just the ankle strap. Dkt. 99 at 23–26; Dkt. 107 at 8–10. Plaintiff
      asserts that there is evidence showing that the five deputies used the entire device because materials in the
26    record refer more generally to the entire WRAP. See Frias Dep. at 17:16–19:4; Defs.’ Exs. at 313.
      However, the Court need not determine whether Plaintiff has raised a genuine dispute regarding whether
27    the entire WRAP device was used because, as discussed below, the Court finds that Plaintiff has raised a
      triable issue on excessive force even when assuming that just the ankle portion of WRAP was employed.
28    See infra Section III.B.4.

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 1    ¶ 10.
 2            While all of this was ongoing, Lieutenant Martinez was nearby on the south side of
 3    the hallway assessing the situation. Martinez Dep. at 11:12–14. As Plaintiff was being
 4    treated, Lieutenant Martinez was around twenty feet from the medical examination room.
 5    Defs.’ Exs. at 405:22–406:1. Lieutenant Martinez believes that he may have originally
 6    requested that the WRAP device be brought to the medical examination room to prepare
 7    Plaintiff for transportation so as to avoid any delay in getting Plaintiff the “appropriate
 8    treatment or housing.” Id. at 412:22–413:8. Later, Lieutenant Martinez saw Plaintiff on
 9    the gurney while in the hallway and noticed that Plaintiff was still being erratic, yelling,
10    trying to sit up, and not following instructions. Defs.’ Exs. at 408:20–409:5.
11            Lieutenant Martinez’s subordinate—another supervisory officer, Sergeant Edmundo
12    Garica—was also in the hallway for some unspecified portion of the above events. SUF
13    ¶ 94. While Sergeant Garcia had little recollection of what occurred, Lieutenant Martinez
14    testified that Sergeant Garcia moved back and forth down the hallway, and occasionally
15    stood next to him to discuss updates. Defs.’ Exs. at 413:19–414:4. Both Lieutenant
16    Martinez and Sergeant Garcia attested that they were at the scene to evaluate the situation
17    and provide resources as necessary. Id. at 407:22–24, 436:15–437:9. Deputy Bohan’s
18    report generally stated that both Sergeant Garcia and Lieutenant Martinez were present for
19    the above events, but failed to provide specific information on where and when. Bohan
20    Report at 3.
21    F. Plaintiff’s Subsequent Medical History
22            Plaintiff contends that as a result of the five deputies’ uses of force, he suffered
23    serious injuries. Once Plaintiff was at the hospital, Plaintiff complained of lower extremity
24    pain and numbness. SUF ¶ 33. Weeks later, Plaintiff underwent spinal surgery. SUF ¶ 34.
25    Plaintiff alleges that he still struggles with persistent weakness and sensation loss in his left
26    leg and that he is in effect partially paralyzed, rendering him wheelchair bound and
27    incontinent. Dkt. 99-16 (“Dr. Kapuria Report”) at 7; Frias Dep. at 6:6–10.
28            Plaintiff’s expert, Dr. Abhi Kapuria, opined that during the events on March 9, 2021,

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 1    Plaintiff likely suffered multiple “tonic-clonic seizures,” which were improperly handled
 2    by the Deputies. Dr. Kapuria Report at 7. According to Dr. Kapuria, symptoms of a “tonic-
 3    clonic seizure” include a first phase of “sudden loss of consciousness, stiffening of muscles,
 4    and falling,” and a second phase of “rhythmic jerking movements.” Id. at 3. Additionally,
 5    “[l]oss of awareness and recall of the event” is common and other symptoms may include
 6    “altered mental status,” and “involuntary vocalizations.” Id. To properly care for an
 7    individual, Dr. Kapuria opined that the individual’s movements must not be restrained as
 8    this poses “significant risk of injury,” including “fractures, dislocations, and soft tissue
 9    injuries,” “head, neck, and spine” injuries, and “respiratory compromise.” Id. After
10    reviewing the evidence regarding what occurred and Plaintiff’s medical records, Dr.
11    Kapuria opined that Plaintiff experienced multiple tonic-clonic seizures on March 9, 2021,
12    and that the Deputies’ actions likely caused “physical injuries above what is expected from
13    seizure activity alone.” Id. at 7. He hypothesized that this resistance in turn may have
14    caused Plaintiff’s persistent weakness and sensation loss in his left lower extremity. Id.
15    G. Relevant County Training and Policies
16          All the individual Defendants—the Deputies, Lieutenant Martinez, and Sergeant
17    Garcia—in this case were trained on seizure response at the Peace Officer Standards and
18    Training Academy and while employed with the San Diego Sheriff’s Department. See Le
19    Dep. at 3:7–18:18; Dkt. 99-4 (“Bohan Dep.”) at 3:13–8:16; Dkt. 99-9 (“Jacobo Dep.”) at
20    3:7–8:9; Dkt. 99-15 (“Tapia Dep.”) at 3:4–9:23; Dkt. 99-19 (“Defs.’ Resp. to Req. Produc.
21    Docs.”).     Specifically, Defendants conceded that they were trained in “First
22    Aid/CPR/AED,” which included a chapter on seizures. Defs.’ Resp. to Req. Produc. Docs;
23    Dkt. 99-20 (“Seizure Training”) at 3. The training materials identified common signs of
24    seizures, such as “jerking uncontrollably,” “disorientation,” “slurred speech,” “partial or
25    complete loss of consciousness,” “purposeless sounds and body movements,” and “lack of
26    response.” Seizure Training at 3. Further, the training instructed officers to not take the
27    symptoms of a seizure, such as “convulsions, confusion, and episodes of agitated
28    behavior,” as “deliberate hostility or resistance to the officers.” Id. at 4. The training

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 1    instructed these officers that they should try to put a person seizing in the recovery position,
 2    “let them ride out the seizure,” and ensure that the person seizing did not injure themselves
 3    while experiencing involuntary spasms. Defs.’ Exs. at 184:13–185:10; Le Dep. at 15:22–
 4    18:18. There is no evidence that the Deputies were advised to forcibly hold them in the
 5    recovery position; rather, their training materials clearly state that they must not restrain
 6    the individual while seizing. Seizure Training at 4.
 7          The Deputies were also taught when use of the WRAP device is appropriate. Defs.’
 8    Exs. at 179:24–181:21, 282:12–283:1. The Deputies’ use of force guidelines explain that
 9    the WRAP device should only be used on “violent subjects” or subjects that pose an escape
10    risk. Dkt. 99-24 (“Force Guidelines”) at 15. This device is required in lieu of leg chains
11    when an individual is “kicking” and thereby, “pos[ing] a threat to themselves, others, or to
12    equipment” or when an individual is trying to escape. Id. Deputy Bohan testified that
13    different standards apply when only using a WRAP ankle strap, explaining that this is an
14    appropriate tool to use when an inmate is kicking or trying to stand up. Defs.’ Exs. at
15    181:13–15.
16    H. Procedural Background
17          Plaintiff filed this action on May 13, 2022, alleging that Deputies Banaga, Bohan,
18    Jacobo, Tapia, and Le used excessive force against him while he was experiencing seizures
19    by (1) restraining him in the holding cell; (2) restraining him in the wheelchair while in the
20    medical examination room; (3) restraining him in the recovery position while he received
21    medical care and was monitored thereafter; and (4) applying the WRAP device. See Third
22    Am. Compl. at 10–12. He also claimed that Lieutenant Martinez and Sergeant Garcia
23    violated his constitutional rights by failing to stop the five deputies from using this
24    excessive force even though they were present. Id. at 20–21. Accordingly, Plaintiff brings
25    excessive force claims pursuant to 42 U.S.C. § 1983 and a state law claim under the Bane
26    Act, Cal. Civ. Code § 52.1, against the five deputies, as well as supervisory liability claims
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 1    pursuant to § 1983 against Lieutenant Martinez and Sergeant Garcia.6 See generally Third
 2    Am. Compl. On August 16, 2024, Defendants brought a motion for summary judgment
 3    against Plaintiff on the above claims. Mot. Summ. J.
 4           The Court held oral argument on Defendants’ summary judgment motion on October
 5    31, 2024. Id.; Dkt. 127 (“Summ. J. Tr.”). 7 At the hearing, the Court ruled as follows. First,
 6    the Court found that Deputy Banaga was entitled to qualified immunity and thus granted
 7    Defendants’ motion to that extent. Summ. J. Tr. at 10–24. Second, the Court found that
 8    Plaintiff had raised a triable issue as to whether the Deputies’ use of force caused his
 9    injuries in light of Dr. Kapuria’s medical opinion and thus, denied Defendants’ motion on
10    this ground. Id. at 4–7. Lastly, the Court ordered supplemental briefing and took under
11    submission the issues of whether (1) the remaining deputies (Deputies Le, Tapia, Jacobo,
12    and Bohan), Lieutenant Martinez, and Sergeant Garcia were entitled to qualified immunity
13    and (2) Plaintiff’s Bane Act claims fail as a matter of law. Id. at 51. Defendants have since
14    withdrawn their motion for summary judgment on Plaintiff’s claims under the Bane Act
15    and conceded that these claims should proceed to trial, eliminating the Court’s need to
16    review these state law causes of action. See Dkt. 128 at 11–12. After reviewing the parties’
17    supplemental briefing, the Court issues the following order superseding its earlier oral
18    ruling to the extent that the orders differ.8
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21             In addition to these claims, Plaintiff originally pled that individual Defendants violated his
      Fourteenth Amendment rights pursuant to § 1983 for failure to provide medical care and that individual
22    Defendants and the County committed battery and negligence under state law. Third Am. Compl. at 13–
      19. On August 2, 2024, the parties jointly moved to dismiss these claims, and the Court granted this
23    motion on August 6, 2024. Dkts. 82, 84.
24           7
              At oral argument, the Court also addressed the majority of the parties’ evidentiary objections.
25    Summ. J. Tr. at 7–9. Accordingly, in this order, the Court only addresses objections that have not yet
      been addressed.
26           8
               At oral argument, the Court provided a tentative ruling concerning a portion of the qualified
27    immunity analysis, explaining that a reasonable jury could conclude that the Supervisory Officers (1) were
      present for the incident on March 9, 2021; (2) were aware Plaintiff was having a seizure; and (3) did not
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 1                                            II. LEGAL STANDARD
 2           Summary judgment is appropriate under Rule 56 of the Federal Rules of Civil
 3    Procedure if the moving party demonstrates the absence of a genuine issue of material fact
 4    and entitlement to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v.
 5    Catrett, 477 U.S. 317, 322 (1986). A fact is material when, under the governing substantive
 6    law, it could affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S.
 7    242, 248 (1986). A dispute as to a material fact is genuine if there is sufficient evidence
 8    for a reasonable jury to return a verdict for the nonmoving party. Id. at 248–50.
 9           A party seeking summary judgment always bears the initial burden of establishing
10    the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. If the non-moving
11    party bears the burden of proof at trial, the movant can meet its initial burden of production
12    by providing evidence that (1) negates an essential element of the nonmoving party’s
13    claims or (2) shows that the nonmoving party does not have sufficient evidence to carry its
14    burden at trial. Nissan Fire & Marine Ins. Co., Ltd., v. Fritz Cos., Inc., 210 F.3d 1099,
15    1102–03 (9th Cir. 2000). Where this initial burden is met, the burden shifts to the non-
16    moving party to set forth, by “citing to particular parts of materials in the record,” “specific
17    facts showing that there is a genuine issue for trial.” Anderson, 477 U.S. at 250; Fed. R.
18    Civ. P. 56(e). The court determines whether the nonmoving party’s “specific facts . . .
19    coupled with undisputed background or contextual facts, are such that a rational or
20    reasonable jury might return a verdict” for the nonmoving party. T.W. Elec. Serv. v. Pac.
21    Elec. Contractors, 809 F.2d 626, 631 (9th Cir. 1987) (internal citations omitted). In such
22
23
24    stop the use of downward pressure or the WRAP device discussed above. Summ. J. Tr. at 18–21. In this
25    order, the Court reconsiders whether Plaintiff has raised a triable issue that Supervisory Officers Garcia
      and Martinez acquiesced in the Deputies’ purported use of excessive force and thus, whether they are
26    entitled to qualified immunity. See City of Los Angeles, Harbor Div. v. Santa Monica Baykeeper, 254
      F.3d 882, 885 (9th Cir. 2001) (explaining that district courts have the “inherent procedural power to
27    reconsider, rescind, or modify an interlocutory order” (internal quotation marks and citation omitted)). It
      also revisits and reexamines its analysis of whether Plaintiff raised a triable issue of whether the Deputies
28    used excessive force in all four of the alleged instances. See id.; Dkt. 127 at 29.

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 1    a case, summary judgment is inappropriate. Anderson, 477 U.S. at 248. However, where
 2    a rational trier of fact could not find for the nonmoving party based on the record as a
 3    whole, there is no “genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio,
 4    475 U.S. 574, 587 (1986) (internal citation and quotation marks omitted).
 5           In judging evidence at the summary judgment stage, the court does not make
 6    credibility determinations or weigh conflicting evidence. Soremekun v. Thrifty Payless,
 7    Inc., 509 F.3d 978, 984 (9th Cir. 2007). Rather, the court must view all inferences drawn
 8    from the underlying facts in the light most favorable to the nonmoving party.                          Id.
 9    “Credibility determinations, the weighing of evidence, and the drawing of legitimate
10    inferences from the facts are jury functions, not those of a judge, [when] he [or she] is
11    ruling on a motion for summary judgment.” Anderson, 477 U.S. at 255.
12                                             III. DISCUSSION
13           Given the evolving nature of the players who interacted with Plaintiff, the
14    circumstances they confronted, and their different levels of knowledge, the Court has
15    organized its analysis of Plaintiff’s excessive force claims into four separate phases: (1)
16    when Deputy Le forcibly held Plaintiff in recovery position by restraining his hip and ribs
17    while in the medical holding cell; (2) when Deputies Le and Tapia forcibly restrained
18    Plaintiff in the wheelchair by pushing down on Plaintiff’s shoulders and upper back while
19    in the medical examination room; (3) when Deputies Le, Bohan, Jacobo, and Tapia forcibly
20    held Plaintiff in the recovery position while in the medical examination room; and (4) when
21    Deputies Le, Bohan, Jacobo, and Tapia assisted Deputy Banaga in placing the WRAP
22    device on Plaintiff.9 To determine whether the Deputies involved are entitled to qualified
23    immunity for each of these four phases, the Court will first examine the objective
24    reasonableness of their use of force and, if Plaintiff has raised triable issues in this regard,
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             9
                Deputy Tapia held Plaintiff’s legs and the other Deputies held Plaintiff in the recovery position
27    to assist Deputy Banaga in applying the WRAP ankle strap. Banaga Report at 3; Defs.’ Exs. at 234:12–
      235:19, 272:12–19. The Court does not address Deputy Banaga’s actions as it already awarded Deputy
28    Banaga qualified immunity in its oral ruling. See Dkt. 127 at 16–17, 23–24.

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 1    it will then address whether the Deputies violated clearly established law acting as they
 2    did. Second, the Court will evaluate whether Plaintiff has raised triable issues that
 3    Lieutenant Martinez and Sergeant Garcia knowingly refused to stop the Deputies from
 4    using excessive force against Plaintiff and if so, whether their actions violated Plaintiff’s
 5    clearly established constitutional rights.
 6    A. Qualified Immunity in the Context of Excessive Force Claims
 7           As Defendants assert that they are protected by qualified immunity from Plaintiff’s
 8    claims that the Deputies subjected him to excessive force, the Court starts by setting forth
 9    the law in this area.
10           “The doctrine of qualified immunity protects government officials from liability for
11    civil damages insofar as their conduct does not violate clearly established statutory or
12    constitutional rights of which a reasonable person would have known.” Pearson v.
13    Callahan, 555 U.S. 223, 231 (2009) (internal citation and quotation marks omitted). To
14    make this determination, courts ask two questions: “[f]irst, viewing the facts in the light
15    most favorable to [the plaintiffs], did [the defendants] violate a constitutional right?” and
16    “second, if a constitutional right was violated, was it a clearly established right?” Scott v.
17    Smith, 109 F.4th 1215, 1223 (9th Cir. 2024). Because a defendant is entitled to qualified
18    immunity if just one of the above elements is not found, the Court’s analysis can begin and
19    end with either element. Pearson, 555 U.S. at 236.
20           In Fourth Amendment excessive force cases, courts examine whether police
21    officers’ actions are “‘objectively reasonable’ in light of the facts and circumstances
22    confronting them,” to determine whether there was a constitutional violation. 10 Graham v.
23    Connor, 490 U.S. 386, 396 (1989). “In assessing the objective reasonableness of a
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26           10
                 While pretrial detainees, like Plaintiff, are protected from excessive force that amounts to
      punishment under the Due Process Clause of the Fourteenth Amendment, courts look to the Fourth
27    Amendment for the “applicable constitutional limitations” regarding the use of force on pretrial detainees.
      Lolli v. County of Orange, 351 F.3d 410, 415 (9th Cir. 2003); see Graham, 490 U.S. at 395 n.10. As such,
28    the Fourth Amendment standard for excessive force claims controls.

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 1    particular use of force, we consider: (1) the severity of the intrusion on the individual’s
 2    Fourth Amendment rights by evaluating the type and amount of force inflicted, (2) the
 3    government’s interest in the use of force, and (3) the balance between the gravity of the
 4    intrusion on the individual and the government’s need for that intrusion.”             Rice v.
 5    Morehouse, 989 F.3d 1112, 1121 (9th Cir. 2021) (internal citation and quotation marks
 6    omitted). In conducting this objective analysis, a court should not consider an officer’s
 7    “intent or motivation.” Torres v. City of Madera, 648 F.3d 1119, 1124 (9th Cir. 2011)
 8    (quoting Graham, 490 U.S. at 397).
 9          In evaluating the quantum of force used, courts must look to the “specific factual
10    circumstances,” examining both “[t]he nature and degree of physical contact” and the “risk
11    of harm and the actual harm experienced.” Williamson v. City of National City, 23 F.4th
12    1146, 1151–52 (9th Cir. 2022) (internal citations and quotation marks omitted). Given its
13    objective analysis, courts focus on what a reasonable officer on the scene would expect the
14    risk of harm to be. Id. at 1152; see Young v. County of Los Angeles, 655 F.3d 1156, 1161–
15    62 (9th Cir. 2011) (instructing that courts must assess whether a use of force is “capable of
16    inflicting significant pain and causing serious injury”). In making this determination,
17    courts may consider whether the officer was informed or trained to not use the force in
18    question. See Nelson v. City of Davis, 685 F.3d 867, 878–79 (9th Cir. 2012). When a use
19    of force is “capable of inflicting significant pain and causing serious injury,” it constitutes
20    “intermediate force, that while less severe than deadly force, nonetheless present[s] a
21    significant intrusion upon an individual’s liberty interests.” Young, 655 F.3d at 1161–62
22    (internal citations and quotations omitted). With respect to the actual injuries, “[t]he
23    presence of non-minor physical injuries . . . is certainly relevant in evaluating the degree
24    of the Fourth Amendment intrusion.” Bryan v. MacPherson, 630 F.3d 805, 824–25 (9th
25    Cir. 2010). Ultimately, “[t]he greater the risk of harm and the actual harm involved, the
26    greater the governmental interest must be to justify the use of force.” Sabbe v. Wash. Cnty.
27    Bd. of Comm’rs, 84 F.4th 807, 821 (9th Cir. 2023).
28          Second, courts assess the following non-exhaustive list of factors in evaluating the

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 1    government’s interest in using such force: (1) whether the suspect posed an immediate
 2    threat to anyone; (2) whether the suspect resisted or attempted to evade arrest; and (3) the
 3    severity of the crime at issue (the “Graham factors”). Graham, 490 U.S. at 396. The most
 4    important of these factors is whether the suspect posed an immediate threat. Mattos v.
 5    Agarano, 661 F.3d 433, 441 (9th Cir. 2011) (en banc). “Other relevant factors include the
 6    availability of less intrusive alternatives to the force employed, whether proper warnings
 7    were given and whether it should have been apparent to officers that the person they used
 8    force against was emotionally disturbed.” Glenn v. Washington County, 673 F.3d 864, 872
 9    (9th Cir. 2011). Additionally, courts should contemplate whether the amount of force was
10    necessary to prevent or address any medical emergencies involving a “serious . . . life
11    threatening” situation, whether to the plaintiff or others. See Ames v. King County,
12    Washington, 846 F.3d 340, 349 (9th Cir. 2017).11
13           Courts make this assessment “from the perspective of a reasonable officer on the
14    scene” and not “with the 20/20 vision of hindsight.” Graham, 490 U.S. at 396. When
15    “[a]n officer’s particular use of force is based on a mistake of fact,” courts must evaluate
16    “whether a reasonable officer would have or should have accurately perceived that fact.”
17    Torres, 648 F.3d at 1124. In determining what an officer “should have known,” courts
18    may consider whether the officer was trained on the matter, whether the officer acted in
19    accordance with that training, and whether following the training would have led to a
20    different outcome. Id. at 1125 (internal citation omitted).
21           Even if a court finds a constitutional violation, it must still determine whether the
22    officers violated “clearly established” law. Vanegas v. City of Pasadena, 46 F.4th 1159,
23    1164 (9th Cir. 2022). “An officer cannot be said to have violated a clearly established right
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25           11
                The Court is aware that the Sixth Circuit has adopted a specific three-factor test for excessive
26    force claims arising out of officers’ uses of force in a “medical-emergency context.” See Estate of Hill by
      Hillv. Miracle, 853 F.3d 306, 314 (6th Cir. 2017); Nowell v. Trimmed Ambulance, LLC, No. 17-cv-
27    1133RSL, 2019 WL 172631, at *8 (W.D. Wash. Jan. 11, 2019). While the Court does recognize that the
      Graham factors are an imperfect fit for circumstances like those presented here, absent clear direction
28    from the Ninth Circuit, the Court declines to import the Sixth Circuit’s test.

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 1    unless the right’s contours were sufficiently definite that any reasonable official in the
 2    defendant’s shoes would have understood that he was violating it.” Kisela v. Hughes, 584
 3    U.S. 100, 105 (2018) (internal citation and quotation marks omitted). To make this
 4    determination, courts “only look to controlling authority or a robust consensus of cases of
 5    persuasive authority to determine settled law.” Vanegas, 46 F.4th at 1164 (internal citation
 6    and quotation marks omitted). However, courts need not identify a “case dealing with the
 7    particular facts” of the case at hand for the officers’ conduct to violate a clearly established
 8    right. Scott v. County of San Bernardino, 903 F.3d 943, 951 (9th Cir. 2018) (internal
 9    citations and quotation marks omitted). All that is required is that the caselaw be
10    sufficiently analogous such that a reasonable officer in the defendants’ position would
11    understand that their conduct is unlawful. Id. While plaintiff bears the burden of “showing
12    that the rights allegedly violated were clearly established,” defendants carry the ultimate
13    burden of proving that they are entitled to qualified immunity. See Shafer v. County of
14    Santa Barbara, 868 F.3d 1110, 1118 (9th Cir. 2017); Frudden v. Pilling, 877 F.3d 821,
15    831 (9th Cir. 2017).
16          With this precedent in mind, the Court turns to each of the four instances of excessive
17    force alleged by Plaintiff.
18    B. Whether the Deputies Are Entitled to Qualified Immunity for Their Interactions
19    with Plaintiff
20       1. Phase One: Deputy Le Restrained Plaintiff in the Recovery Position in the
21          Medical Holding Cell
22          Constitutional Violation
23          Defendants argue that Deputy Le reasonably applied downward pressure on Plaintiff
24    to keep him in the recovery position while he was experiencing a medical emergency in
25    the medical holding cell. In evaluating this argument, the Court must ascertain whether
26    Plaintiff has raised triable issues on two key facts: whether Plaintiff was experiencing a
27    seizure at this time and whether a reasonable officer would have recognized this.
28          After reviewing the record, the Court finds that Plaintiff has raised a triable issue as

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 1    to whether he was experiencing a seizure in the medical holding cell when Deputy Le
 2    forcibly held him in the recovery position. First, it is undisputed that Plaintiff is a
 3    diagnosed epileptic and that he had notified Deputies Le, Jacobo, and Bohan that he was
 4    about to have a seizure. Pl.’s Exs. 12, 13; SUF ¶ 9. The record also reflects that at first,
 5    Plaintiff was disoriented; then his body became stiff, thrashed from side to side, and
 6    mirrored “seizing;” and then he became “unresponsive.” Le Report at 2–3; Bohan Report
 7    at 3; Jacobo Report at 2; Defs.’ Exs. at 75:19–76:3, 83:12–84:6. Although Defendants
 8    insist that Plaintiff was suffering from alcohol intoxication, these behaviors are also
 9    consistent with seizure symptoms of “[l]oss of awareness,” “stiffening of muscles,” “loss
10    of consciousness,” and “rhythmic jerking movements” identified by Dr. Kapuria. Dr.
11    Kapuria Report at 3. Accordingly, the Court finds that Plaintiff has raised a triable issue
12    of whether he was having a seizure at this time.
13          Not only has Plaintiff raised a triable issue as to whether he in fact was experiencing
14    a seizure, but he has also created a genuine dispute as to whether a reasonable officer would
15    have recognized it. First, the parties do not contest that Plaintiff informed Deputies Le,
16    Jacobo, and Bohan that he “was going to have a seizure” and that he had a documented
17    history of epilepsy. Pl.’s Ex. 12; Pl.’s Ex. 13; SUF ¶ 9. The record also reflects that Deputy
18    Le was trained to identify signs of seizures, such as “jerking uncontrollably,” “purposeless
19    sounds and body movements,” “partial or complete loss of consciousness,” and “lack of
20    response.” Seizure Training at 3; Le Dep. at 3:7–18:18. Deputy Le not only described
21    Plaintiff as exhibiting these same symptoms—unresponsive, stiff, and shaking—but also
22    explicitly noted in his report that Plaintiff was moving “as if he were seizing” at the time.
23    Le Report at 3; Le Dep. at 50:11–51:11; Defs.’ Exs. at 75:19–76:3, 83:12–84:6. Based on
24    the above, the Court finds that Plaintiff has created a triable issue that a reasonable officer
25    would have been able to recognize that Plaintiff was having a seizure when Deputy Le used
26    force to hold him in recovery position.
27          Despite arguing that Deputy Le only applied force to help facilitate emergency
28    medical treatment, Defendants have not introduced any evidence establishing that

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 1    Plaintiff’s health or safety demanded this restraint. Deputy Le testified that he placed
 2    Plaintiff in the recovery position because he thought Plaintiff was seizing and wanted to
 3    help him. Defs.’ Exs. at 82:16–83:11, 127:9–128:4; SUF ¶ 44. While the record reflects
 4    that the Deputies were trained that they should place a person seizing in the recovery
 5    position, they were also advised to “let [the person] ride out the seizure” and to never apply
 6    restraint. Defs.’ Exs. at 184:13–185:10; Seizure Training at 3–4. As there is no evidence
 7    that Deputy Le was informed by medical staff to restrain Plaintiff or that there was a graver
 8    medical emergency requiring such action, Defendants have failed to demonstrate as a
 9    matter of undisputed fact that Le’s actions were required for medical or life-saving
10    purposes.
11          Based on these factual disputes, a reasonable jury could find Deputy Le’s restraint
12    of Plaintiff objectively unreasonable. First, viewing the facts in the light most favorable to
13    Plaintiff, a reasonable jury could find that Deputy Le’s actions constituted a significant
14    intrusion given the risks associated with restraining Plaintiff while he was seizing and the
15    severity of his actual injuries. Williamson, 23 F.4th at 1152. While downward pressure is
16    generally considered minimal force, see Forrester v. City of San Diego, 25 F.3d 804, 807
17    (9th Cir. 1994), applying restraint on an individual experiencing a seizure presents inherent
18    risks of injury that would otherwise not be present, Williamson, 23 F.4th at 1152; see also
19    Seidner v. de Vries, 39 F.4th 591, 597 (9th Cir. 2022) (explaining that courts should not
20    examine use of force in a vacuum, but rather must evaluate the inherent risks in using that
21    force based on the circumstances). Given that Deputy Le was taught how to identify a
22    seizure and instructed to not restrain an individual who is having a seizure, a reasonable
23    officer in his position would know that using this prohibited force on Plaintiff would
24    present a higher risk of medical harm. See Nelson, 685 F.3d at 879; Seizure Training at 3–
25    4. Further, a reasonable jury could also find Plaintiff’s actual injury was significant if it
26    credits Plaintiff’s evidence that he suffered long-term weakness and loss of sensation in his
27    legs, impacting his mobility. See Santos v. Gates, 287 F.3d 846, 853–54 (9th Cir. 2002)
28    (finding intrusion severe where resultant injury caused him both “pain and immobility”);

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 1    Dr. Kapuria Report at 3; Frias Dep. at 6:6–10.
 2          Compared to what a reasonable jury could deem substantial force, the governmental
 3    interest in using such force is wanting. See Graham, 490 U.S. at 396. The triable facts in
 4    the light most favorable to Plaintiff show that there was no need for any force, let alone
 5    force capable of causing serious injury. See id. As Plaintiff was suffering a seizure, there
 6    was no danger of flight, no threat to the safety of officers, nor any question that Plaintiff
 7    was willfully resisting an officer’s efforts to restrain him. See id. (considering factors such
 8    as whether plaintiff posed a threat, resisted arrest, or attempted to evade arrest in assessing
 9    the government’s need to use force). Nor was there a need to apprehend someone who had
10    committed a serious crime—Plaintiff was already in pre-trial custody when these events
11    arose. See id. (examining the severity of the crime as another factor). Even if Deputy Le
12    subjectively believed this force was necessary to protect Plaintiff during his medical
13    episode, there is no evidence in the record that the situation objectively called for such a
14    response. See SUF ¶ 44. Le was specifically trained not to restrain individuals during a
15    seizure, Seizure Training at 4, and there were no signs that Plaintiff could not breathe or
16    that he required immediate medical intervention warranting deviation from this training.
17    See Torres, 648 F.3d at 1126 (explaining that an officer’s prior training on how to respond
18    to an event can create a triable issue of fact of whether he reasonably responded to the
19    event); cf. Ames, 846 F.3d at 349 (holding that a medical injury posing a life-threatening
20    situation contributed to the government’s interest in using force); Seizure Training at 4.
21           For the above reasons, the Court concludes that a reasonable jury could find that
22    Deputy Le’s actions were objectively unreasonable because there was little to no
23    governmental interest justifying Deputy Le’s use of potentially dangerous force. See Rice,
24    989 F.3d at 1121.
25          Clearly Established Law
26          Because it finds that Plaintiff has established a triable issue of whether Deputy Le
27    used excessive force against him, the Court proceeds to examine whether clearly
28    established precedent would have placed Deputy Le on notice that his actions were

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 1    unlawful.
 2          The Ninth Circuit has long held that officers violate a plaintiff’s Fourth Amendment
 3    right to be free from excessive force when they use force contrary to their training on a
 4    medically vulnerable plaintiff who is not resisting. In Drummond ex. rel. Drummond v.
 5    City of Anaheim, 343 F.3d 1052, 1056–62 (9th Cir. 2003), the Ninth Circuit held that the
 6    officers used excessive force on a mentally disturbed plaintiff when they forcefully
 7    restrained him even though he was not resisting. In Drummond, the officers were initially
 8    called to “help protect” the plaintiff because he was experiencing a mental breakdown. Id.
 9    at 1054. Although the officers originally called an ambulance, they later decided to take
10    him into custody for his own safety. Id. The officers knocked the plaintiff to the ground
11    and handcuffed him and, even though he was not resisting, the officer proceeded to press
12    their weight on his neck and back, causing him to call out that “he could not breathe and
13    that they were choking him.” Id. at 1054–55. In light of these facts, the Ninth Circuit
14    found that the officers’ use of force was constitutionally excessive on numerous grounds.
15    Id. at 1056–60. First, the Ninth Circuit noted that the officers should have recognized that
16    the plaintiff was “emotionally disturbed” and considered using other tools appropriate for
17    the situation, such as counseling. Id. at 1057–58. Second, the Court concluded that the
18    officers did not need to put their weight on the plaintiff’s neck as he was already restrained
19    in handcuffs, not resisting, and did not present any criminal threats. Id. Lastly, the Ninth
20    Circuit determined that the officers should have known the high risks of employing this
21    force given that their own police department issued a “Training Bulletin” that specifically
22    warned that kneeling on a subject’s back or neck could cause asphyxia. Id. at 1059. In
23    fact, the Ninth Circuit concluded that the officers were precluded from claiming qualified
24    immunity as a reasonable officer in their position would have been on notice that such force
25    was excessive given that the officers “received training from their own police department”
26    specifically warning them that these actions were objectively unreasonable. Id. at 1061–
27    62 (emphasis in original).
28          The similarities between Drummond and the facts here would have led any

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 1    reasonable officer in Deputy Le’s position to understand that their conduct was unlawful
 2    under the circumstances. See Kisela, 584 U.S. at 105. Like the plaintiff in Drummond
 3    who was having a mental breakdown, Plaintiff was experiencing a medical episode—a
 4    seizure—that caused his behavior. See 343 F.3d at 1054–55; Le Dep. at 39:14–40:7,
 5    50:11–51:11. Like the officers in Drummond, who knew they were dealing with someone
 6    having a mental health crisis, Deputy Le also should have known that Plaintiff was having
 7    a seizure given (1) his training, (2) Plaintiff’s display of seizure symptoms, and (3) the fact
 8    that Plaintiff had informed Le that he may have a seizure. See 343 F.3d at 1054–55, 1057–
 9    58; Seizure Training at 3; Defs.’ Exs. at 75:19–76:3, 77:4–24, 83:12–84:6; SUF ¶ 9.
10    Second, both the officers in Drummond and Deputy Le subjectively intended to use force
11    to help: the Drummond officers purportedly exerted force for the plaintiff’s own protection
12    whereas Deputy Le believed he was helping Plaintiff during a seizure when he forcibly
13    restrained Plaintiff’s movements to hold him in the recovery position. See 343 F.3d at
14    1054; Defs.’ Exs. at 127:9–128:4; Le Report at 3; SUF ¶ 44. Despite their intentions to
15    help, both sets of officers used a level of force that they should have known through training
16    could cause severe harm: in Drummond, kneeling on a subject’s back which could cause
17    asphyxia and, in this case, restraining limbs during a seizure despite specifically being told
18    not to in such circumstances. See 343 F.3d at 1059; Seizure Training at 4. Finally, both
19    sets of officers used substantial levels of force in a situation where the plaintiffs were not
20    resisting nor presenting any criminal threats. See 343 F.3d at 1057–58; Le Report at 2–3.
21    The Court finds that Drummond would have clearly informed a reasonable officer in
22    Deputy Le’s position to not use substantial force contrary to the dictates of training on
23    someone who is neither resisting nor presenting a threat but rather acting out of a medical
24    or mental condition. See 343 F.3d at 1059–62.
25          Defendants’ argument that Drummond is not factually similar to this case because
26    the officers used greater force in that case is unavailing. While applying body weight on a
27    plaintiff’s neck and back is more severe in the abstract than using hand pressure to hold
28    down someone’s hip and ribs, this is not the relevant inquiry. See id. at 1054–55; Le Report

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 1    at 3. Rather, the question is whether the force was “capable of inflicting significant pain
 2    and causing serious injury” in light of the “specific factual circumstances” surrounding the
 3    event, not in isolation. Seidner, 39 F.4th at 597–98 (citing Lowry v. City of San Diego, 858
 4    F.3d 1248, 1256 (9th Cir. 2017) (en banc) and Young, 655 F.3d at 1161–62). Here, the
 5    force used by Deputy Le, while minimal in and of itself, had the potential to cause serious
 6    harm because it was used to restrain a seizing individual. As Drummond makes clear,
 7    officers are prohibited from using a force that, from training, they should have known not
 8    to apply. See 343 F.3d at 1059–62. The facts in the light most favorable to Plaintiff here
 9    indicate that a reasonable officer in Deputy Le’s position should have known that
10    restraining Plaintiff while he was having a seizure posed a greater risk of injury than it
11    would in other circumstances because he was trained not to do so. See Seizure Training at
12    3. Nor is the Court persuaded by Defendants’ argument that Plaintiff’s need for medical
13    care distinguishes this case as there is no evidence that Deputy Le’s intervention was
14    required to prevent immediate harm or even to provide medical treatment to Plaintiff. Cf.
15    Ames, 846 F.3d at 349 (finding force to pin down plaintiff objectively reasonable where
16    necessary to reach plaintiff’s son and prevent him from dying of overdose). Neither was
17    Deputy Le operating under the instructions of medical staff. Cf. Perez v. City of Fresno,
18    98 F.4th 919, 926 (9th Cir. 2024). While Deputy Le may have subjectively believed that
19    this force was needed to assist Plaintiff, his subjective intentions are immaterial as the
20    Court only considers the objective reasonableness of his conduct. See Torres, 648 F.3d at
21    1124.
22            Based on the Ninth Circuit Drummond case, the Court finds that Le had sufficient
23    notice that his conduct was unlawful. See 343 F.3d at 1057–62. The Court therefore finds
24    that he is not eligible for qualified immunity for these actions at this stage and denies
25    Defendants’ motion for summary judgment on this ground.
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 1       2. Phase 2: Deputies Le and Tapia Restrained Plaintiff in the Wheelchair in the
 2          Medical Examination Room
 3          Constitutional Violation
 4          The Court next examines whether Deputies Le and Tapia acted reasonably in
 5    restraining Plaintiff in the wheelchair while he was in the medical examination room.
 6          First, the Court finds that Plaintiff has raised triable issues as to whether he was
 7    suffering a seizure during this phase of the interaction and whether a reasonable officer
 8    would have recognized this fact. As discussed above, Plaintiff was a known epileptic and
 9    had informed Deputies Le, Jacobo, and Bohan that he was going to have a seizure. Pl.’s
10    Ex. 12; Pl.’s Ex. 13; SUF ¶ 9. It is uncontested that once Plaintiff was in the medical
11    examination room, medical staff and Deputies Tapia, Le, and Jacobo observed that Plaintiff
12    “thrash[ed]” around, had “slurred speech,” seemed “disoriented,” “could not stand on his
13    own,” and exhibited “jerking movement[s].” Jacobo Report at 2; Tapia Report at 2; Le
14    Report at 3; Defs.’ Exs. at 318; Udan Decl. ¶ 5. In addition, Deputy Le noticed that
15    “Plaintiff’s legs became stiff, his torso arched back and forth, and his body lifted out of the
16    chair” whereas Deputies Jacobo, Bohan, and Tapia observed him lifting himself up while
17    thrashing from side to side. Defs.’ Exs. at 90:12–18; Le Report at 3; Jacobo Report at 2;
18    Tapia Report at 3; Bohan Report at 3. As discussed earlier, each of these Deputies were
19    trained to recognize the above symptoms as signs of a seizure. Seizure Training at 3.
20    Accordingly, Plaintiff has created a genuine dispute of material fact as to whether he was
21    having a seizure when Deputies Le and Tapia held him in the wheelchair and whether a
22    reasonable officer would have been aware of this.
23          Whether Deputies Le and Tapia restrained Plaintiff in the wheelchair in response to
24    a medical or lifesaving need also remains a triable issue in this case. Although Defendants
25    argue that Deputies Le’s and Tapia’s actions were required to prevent Plaintiff from falling
26    out of the wheelchair and to enable medical staff to treat him, there is no evidence that
27    medical staff instructed them to do so. See Tapia Report at 2; Le Report at 3; Defs.’ Exs.
28    at 130:16–131:7. Nor is there evidence that Plaintiff was suffering from a medical issue

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 1    beyond having a seizure at this point. Although Nurse Irwin later remarked that he needed
 2    Plaintiff to “sit down in the wheelchair for safety reasons” and to conduct his medical
 3    evaluation, the record shows that Deputies Le and Tapia had already started restraining
 4    Plaintiff before Nurse Irwin arrived. Irwin Decl. ¶ 4. Given that there is no evidence that
 5    medical staff requested that Deputies Le and Tapia hold Plaintiff in this position nor
 6    evidence that Plaintiff was facing a graver medical emergency than a seizure requiring
 7    intervention, Defendants have not shown that the undisputed facts established a medical
 8    need for their actions.
 9          In light of these factual disputes, a reasonable jury could find Deputies Le’s and
10    Tapia’s use of force to restrain Plaintiff in the wheelchair objectively unreasonable. As
11    discussed above, if Plaintiff was experiencing a seizure, Deputies Le’s and Tapia’s
12    restraint—downward pressure on Plaintiff’s shoulders and upper back—would pose graver
13    risks than in other circumstances. See Nelson, 685 F.3d at 879; Seizure Training at 3–4;
14    Le Report at 3; Tapia Report at 3. Because Deputies Le and Tapia would have reason to
15    know use of such force carried a high risk of harm, given that their training instructed them
16    not to restrain an individual under such conditions, and because Plaintiff was ultimately
17    rendered partially immobile, a reasonable jury could find their use of force substantial. See
18    Nelson, 685 F.3d at 879; Seizure Training at 3; Dr. Kapuria Report at 3; Frias Dep. at 6:6–
19    10.
20          Because of the factual disputes in the record, a reasonable jury could also find that
21    the government had little to no interest in exercising this force on Plaintiff while he was
22    not posing any threat or resistance, but rather having a seizure. See Mattos, 661 F.3d at
23    441 (explaining that the most important Graham factor is whether the suspect presents an
24    immediate threat). While Defendants argue that they were meeting a medical need—to
25    permit medical staff to evaluate Plaintiff—they have not introduced any evidence that there
26    was an immediate medical need to conduct that evaluation such that they could not wait
27    for the seizure to subside. See Tapia Report at 2; Le Report at 3. Defendants also argue
28    that they restrained Plaintiff to keep him from falling out of the wheelchair but this potential

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 1    harm did not necessarily justify use of force that could inflict even greater harm. See Glenn,
 2    673 F.3d at 873 (explaining that it would be illogical to “permit officers to use force capable
 3    of causing serious injury or death in an effort to prevent the possibility that an individual
 4    might attempt to harm only himself”); Le Report at 3. As there was no evidence of a
 5    medical emergency warranting Deputies Le’s and Tapia’s use of force, a reasonable jury
 6    could conclude that the government had no interest in exercising force to keep Plaintiff in
 7    the wheelchair and thus, that there was no objectively reasonable justification for
 8    restraining Plaintiff while he was seizing. Cf. Ames, 846 F.3d at 349.
 9          Therefore, the Court concludes that Plaintiff has raised a genuine issue of material
10    fact as to whether Deputies Le and Tapia used excessive force by restraining Plaintiff to
11    keep him in the wheelchair. See Rice, 989 F.3d at 1121.
12          Clearly Established Law
13          Because the Court finds that Plaintiff has established a triable issue of whether
14    Deputies Le and Tapia violated his constitutional rights, the Court must examine whether
15    they should have been aware at the time that it was unlawful to apply restraint to an
16    individual experiencing a seizure in the absence of exigent circumstances.
17          Similar to the last scenario in which Deputy Le restrained Plaintiff in the recovery
18    position, the Ninth Circuit’s holding in Drummond would have put Deputies Le and Tapia
19    on notice that their use of potentially dangerous force to restrain a seizing individual in a
20    wheelchair in the absence of a threat, resistance, or immediate medical need was unlawful.
21    See 343 F.3d at 1056–62. When Deputies Le and Tapia applied this force, they were again
22    under the impression that they needed to restrain Plaintiff to protect him from falling and
23    to help him receive medical care. Le Report at 3; Tapia Report at 3. However, Drummond
24    instructs that the reasonableness of an officer’s actions do not turn on whether they
25    subjectively intended to advance a plaintiff’s medical needs or to protect them. See 343
26    F.3d at 1054, 1057–58 (finding officers’ force still excessive despite the fact they used
27    force for their “own protection”). Despite Deputies Le’s and Tapia’s good intentions, they
28    used a force—restraining someone’s limbs while he was seizing—that they should have

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 1    known not to apply. See id. at 1059–62; Seizure Training at 3. Further, in the absence of
 2    any emergency medical need, Deputies Le and Tapia used force even though they should
 3    have recognized that Plaintiff was not resisting or posing a threat given his seizure. See id.
 4    at 1056–59.
 5          Nor does the Ninth Circuit’s decision in either Ames or Perez counsel otherwise. In
 6    Ames, the plaintiff prolonged a medical emergency and endangered her son’s health by
 7    obstructing medical personnel from treating her son. 846 F.3d at 349. Here, there is no
 8    record evidence of an urgent medical crisis to justify the use of potentially harmful force.
 9    Rather, as the record stands, Plaintiff’s only medical issue at the time may have been his
10    own seizures. Defs.’ Exs. at 100:16–23. Perez is likewise inapplicable. See 98 F.4th at
11    926. The officers there used force at the behest of medical personnel whereas here there is
12    no evidence that medical staff instructed Deputies Le and Tapia to restrain Plaintiff in the
13    wheelchair. Id. Although Nurse Irwin attested after the fact that he needed Plaintiff to “sit
14    down in the wheelchair for safety reasons” and for medical evaluation, there is no evidence
15    that this was communicated to the Deputies in real time. Irwin Dec. ¶ 4. In fact, Nurse
16    Irwin testified that Deputies Le and Tapia had made this decision and began restraining
17    Plaintiff before he had arrived. Id.
18          In light of the Ninth Circuit’s decision in Drummond, the Court finds that Deputies
19    Le and Tapia had sufficient notice that their conduct was unlawful. See 343 F.3d at 1059–
20    62. The Court therefore finds that Deputies Le and Tapia are not eligible for qualified
21    immunity for their actions during this phase of their interactions with Plaintiff and denies
22    Defendants’ motion for summary judgment on this ground.
23       3. Phase 3: Deputies Le, Tapia, Bohan, and Jacobo Restrained Plaintiff to Keep
24          Him in the Recovery Position for Medical Treatment and Monitoring
25          Constitutional Violation
26          The Court next examines whether Deputies Le, Tapia, Bohan, and Jacobo acted
27    reasonably when they used force to hold Plaintiff in the recovery position while in the
28    medical examination room.

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 1           Unlike in the previous two phases of the Deputies’ interactions with Plaintiff,
 2    Defendants have established that there was an urgent situation endangering Plaintiff’s life
 3    when the Deputies held him in recovery position on his side. The record reflects that when
 4    Plaintiff suddenly slumped over and became unresponsive while in the medical
 5    examination room, medical staff requested that the Deputies place him in the recovery
 6    position to both help his breathing and enable them to access his airways. SUF ¶ 18. It is
 7    uncontested that once Plaintiff was on the ground, he began to thrash about, kick his legs,
 8    and constantly move, preventing him from remaining in the recovery position, requiring
 9    Deputies Le, Jacobo, and Tapia to use force to keep Plaintiff still.12 Magno Decl. ¶ 4;
10    Bohan Report at 3; Le Report at 3; Jacobo Report at 2; Tapia Report at 3. Further, the
11    evidence shows that once Plaintiff was secured in the recovery position, medical personnel
12    immediately began treatment by using instruments to resuscitate him and clear his airways,
13    successfully leading Plaintiff to vomit and regain consciousness. Udan Decl. ¶¶ 6–7.
14    Nurses Udan, Irwin, and Magno all confirm that they could not have provided this
15    emergency care without Plaintiff being in the recovery position. Id. ¶¶ 6, 13; Irwin Decl.
16    ¶¶ 7–8, 11; Magno Decl. ¶ 5. After regaining consciousness, the record reflects that
17    Plaintiff began to move even more, resisting the Deputies’ pressure, thrashing back and
18    forth, and kicking. Bohan Report at 3; Le Report at 3; Defs.’ Exs. at 107:6–108:5, 112:21–
19    113:2, 222:5–15. As medical personnel needed Plaintiff to remain in the recovery position
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                 Contrary to Plaintiff’s contentions, there is no evidence in the record that creates a genuine
      dispute of material fact concerning the amount and type of force Defendants applied. Plaintiff asserts that
23    the record shows that the Deputies Le, Bohan, Tapia, or Jacobo placed their full bodyweight, rather than
      merely downward pressure, on Plaintiff. Dkt. 99 at 24. However, the only evidence in the record
24    supporting this inference is (1) the County’s use of force policy which contains information on the “Swarm
25    Technique,” in which a group of officers use their combined bodyweight to gain control of a resisting
      subject and (2) Deputy Banaga’s testimony that he previously reported that he applied his body weight to
26    Plaintiff’s calves. Force Guidelines at 12; Banaga Dep. at 13:13–14:2. This evidence alone does not
      create a genuine dispute of as to whether Deputies Le, Bohan, Tapia, or Jacobo—not Banaga (who arrived
27    later anyhow)—used their body weight. Fed. R. Civ. P. 56(e); Anderson, 477 U.S. at 250 (explaining that
      a “mere existence of a scintilla of evidence” that supports the Plaintiff’s position is not sufficient to defeat
28    summary judgment).

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 1    in order to continue monitoring his airways and vital signs, the undisputed facts show that
 2    the Deputies Le, Tapia, Jacobo, and Bohan only applied force as necessary to keep Plaintiff
 3    in this critical position. Udan Decl. ¶ 9; Irwin Decl. ¶¶ 10, 13; Defs.’ Exs. at 168:13–22,
 4    230:6–12, 263:10–13; Le Report at 3.         Thus, irrespective of whether Plaintiff was
 5    experiencing a seizure at the time, the undisputed facts demonstrate that Plaintiff was
 6    facing an urgent medical issue that demanded he be in the recovery position to receive
 7    immediate medical care.
 8          Given these undisputed facts, the Court finds that even when looking at the evidence
 9    in the light most favorable to Plaintiff, a reasonable jury could not find that the Deputies
10    employed excessive force. First, when viewing the facts in the light most favorable to
11    Plaintiff, the Court recognizes that a reasonable jury could find the Deputies’ use of force
12    substantial given that four officers applied downward pressure to restrain Plaintiff while
13    he was having a seizure. See Nelson, 685 F.3d at 879; Seizure Training at 3; SUF ¶¶ 18,
14    20, 22. However, the Court finds that this significant use of force was justified because it
15    was necessary to restore Plaintiff’s breathing. See Graham, 490 U.S. at 396; Udan Decl.
16    ¶¶ 6, 13; Irwin Decl. ¶¶ 7–8, 11; Magno Decl. ¶ 5. Although Plaintiff did not pose a threat
17    or resistance and was experiencing a seizure, Plaintiff’s medical emergency that could have
18    resulted in him losing his life—his breathing had slowed to the point where it was barely
19    perceptible. See Ames, 846 F.3d at 349 (finding that government had an interest in
20    preventing the prolongation of an individual’s medical emergency); Udan Decl. ¶¶ 5–6.
21    As Plaintiff’s conduct—thrashing, kicking, and constantly moving—was interfering with
22    medical personnel’s ability to resuscitate him and later monitor his airways, their use of
23    force was reasonably necessary to ensure that he could get immediate life-saving medical
24    care. See Ames, 846 F.3d at 349 (finding force reasonable given that the officers “continued
25    to be highly concerned for [individual’s] immediate survival” because he “appeared
26    completely unconscious” and “needed immediate help”); Bohan Report at 3; Le Report at
27    3; Id. ¶¶ 6, 9, 13; Irwin Decl. ¶¶ 7–8, 10, 11; Magno Decl. ¶ 5. Further, the record reflects
28    that the Deputies used this force under orders from medical staff. See Perez, 98 F.4th at

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 1    926; SUF ¶ 18. Ultimately, on balance, the Court concludes that the governmental interest
 2    outweighs any intrusion on Plaintiff’s Fourth Amendment rights during this phase of his
 3    interactions with law enforcement. See Rice, 989 F.3d at 1121. As the Deputies were
 4    responding to an urgent situation, following the instructions of medical staff, and using
 5    force to help protect Plaintiff’s life, the Court finds that their actions were objectively
 6    reasonable as a matter of law. See Ames, 846 F.3d at 349.
 7           Because the Court has determined that Deputies Jacobo, Tapia, Le, and Bohan were
 8    objectively reasonable in restraining Plaintiff in the recovery position to receive medical
 9    treatment and be monitored, the Court finds that the Deputies did not violate Plaintiff’s
10    constitutional rights and thus, that they are entitled to qualified immunity. See Pearson,
11    555 U.S. at 236. As such, the Court grants Defendants’ motion for summary judgment
12    with respect to this phase of the interaction without reaching whether clearly established
13    law prohibited this conduct.
14       4. Phase 4: Deputies Le, Tapia, Bohan, and Jacobo Further Restrained Plaintiff
15           in Applying the WRAP Device’s Ankle Strap
16           Constitutional Violation
17           The Court next considers whether Deputies Le, Tapia, Bohan, and Jacobo acted
18    objectively reasonably in helping place the WRAP ankle strap on Plaintiff while they were
19    waiting for the paramedics to arrive.13
20           In weighing the objective reasonableness of the Deputies’ actions, the Court first
21    considers whether Plaintiff has raised triable issues as to whether he was suffering a seizure
22    when the Deputies applied the ankle WRAP strap and whether a reasonable officer would
23    have recognized it as such. As discussed above, Plaintiff was a known epileptic and had
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                The Court does not reach whether there is an existing dispute of fact as to whether the entire
      WRAP device or the ankle strap was applied because even when operating under the presumption that
27    only the ankle strap was applied, the Court still finds that Plaintiff has raised a triable issue of whether the
      Deputies violated his right to be free from excessive force.
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 1    notified Deputies Le, Jacobo, and Bohan earlier that day that he was going to have a
 2    seizure. Pl.’s Ex. 12; Pl.’s Ex. 13; SUF ¶ 9. By this point, Plaintiff had exhibited seizure-
 3    like behavior multiple times—both in the medical holding room and medical examination
 4    room. Le Dep. at 39:14–40:7, 50:11–51:11; Defs.’ Exs. at 100:16–23. At the time the
 5    ankle strap was applied, Deputy Banaga observed that Plaintiff was “rolling from shoulder
 6    to shoulder on his back,” tensing up his body, and pulling his legs in towards his chest.
 7    Banaga Report at 2. Further, at some point prior to the Deputies applying the ankle strap,
 8    Deputies Bohan and Le saw Plaintiff was swinging his arms around and jerking his torso
 9    back and forth. Defs.’ Exs. at 107:6–108:5, 222:5–15. Although many of the Deputies
10    believed that Plaintiff was resisting their control and attempting to escape by curling his
11    legs, these symptoms are also consistent with what the Deputies learned are signs of a
12    seizure, including “jerking uncontrollably” and “purposeless sounds and body
13    movements.” See id.; Banaga Report at 3; Seizure Training at 3. Moreover, the Deputies
14    were specifically taught to not interpret these seizure symptoms as resistance or a threat.
15    Seizure Training at 3. Accordingly, Plaintiff has created a genuine dispute of material fact
16    as to whether he was having a seizure when the Deputies applied the ankle strap and
17    whether a reasonable officer would have recognized such.
18          The Court next determines whether Defendants have established that Plaintiff was
19    experiencing a medical crisis requiring emergency care when the Deputies applied the
20    WRAP ankle strap. Although the Deputies attested that they applied the ankle strap to
21    facilitate speedier transport to the hospital (i.e., prevent Plaintiff from kicking which would
22    interfere with their ability to quickly transfer him onto the gurney), there is no evidence
23    that Plaintiff’s medical condition required urgent transport. Banaga Report at 3; Defs.’
24    Exs. at 281:8–282:11. Further, the record reflects that unlike Plaintiff’s earlier medical
25    episode, in which he became unconscious and needed to be resuscitated, at this point
26    Plaintiff’s vitals were stable, his airways were being monitored, and he was surrounded by
27    medical staff up until the paramedics arrived. See Irwin Decl. ¶¶ 10, 13; Defs.’ Exs. at
28    315–16, 320–21. Nor is there evidence that medical staff informed the Deputies that

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 1    Plaintiff had any immediate medical needs requiring restraint or urgent transfer to the
 2    hospital. Accordingly, the Court concludes that a triable issue remains as to whether the
 3    Deputies were responding to an emergency medical situation or, instead, acting for the sake
 4    of expediency and efficiency when they applied the ankle strap prior to the paramedics’
 5    arrival.
 6           Given these disputed facts, that Court finds that a reasonable jury could conclude
 7    that the Deputies’ use of force in applying the ankle strap was objectively unreasonable.
 8    As addressed above, because the facts in the light most favorable to Plaintiff show that he
 9    was having a seizure, the Deputies’ restraint—locking Plaintiff’s feet together—would be
10    more likely to cause physical harm than in other situations. See Nelson, 685 F.3d at 879;
11    Seizure Training at 3; Defs.’ Exs. at 182:9–13. The government had little to no need to use
12    this force while Plaintiff was having a seizure; he was not posing any threat or resistance
13    and his medical crisis had subsided, eliminating any need to urgently intervene. See
14    Graham, 490 U.S. at 396; cf. Ames, 846 F.3d at 349. By this time, Plaintiff had regained
15    consciousness, and his vitals were stable. See Irwin Decl. ¶ 10; Udan Decl. ¶ 7. Moreover,
16    unlike the Deputies’ use of downward pressure to keep Plaintiff in the recovery position
17    for monitoring, the ankle strap did not facilitate better treatment for Plaintiff after he was
18    resuscitated. Cf. Ames, 846 F.3d at 349. While Defendants contend that Plaintiff’s kicking
19    interfered with his ability to receive medical care, there is no evidence from medical staff
20    that this prevented them from monitoring him after he had been stabilized and was already
21    being held in the recovery position. See Irwin Decl. ¶ 10, 13; Defs.’ Exs. at 282:4–11.
22    Further, no record evidence indicates that there was an immediate medical crisis
23    necessitating this restraint at the cost of properly caring for his seizure. Cf. Ames, 846 F.3d
24    at 349. Because there was no urgent need to restrain Plaintiff’s legs while he was seizing,
25    either to immediately transport Plaintiff to the ambulance or otherwise, a reasonable jury
26    could conclude that the government had little interest in further restraining Plaintiff by
27    applying the ankle strap. See Graham, 490 U.S. at 396.
28           For the above reasons, because the Court concludes that a reasonable jury could find

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 1    that the Deputies used substantial force given the risk of harm with minimal governmental
 2    interest, Plaintiff has raised a triable issue of whether the Deputies’ use of the ankle strap
 3    on Plaintiff was objectively unreasonable. See Rice, 989 F.3d at 1121.
 4          Clearly Established Law
 5          Because the Court has found that Plaintiff has established a triable issue of whether
 6    Deputies Le, Tapia, Bohan, and Jacobo violated his constitutional rights by applying the
 7    ankle strap, the Court will proceed to evaluate whether clearly established law would have
 8    notified these officers that their actions were unlawful.
 9          As with the first two uses of force, the facts and holding of Drummond would have
10    alerted the Deputies that restraining a medically vulnerable individual contrary to their
11    training in the absence of a threat, resistance, or immediate medical need was
12    unconstitutional. See 343 F.3d at 1057–62. Because they were trained to not restrain an
13    individual that is seizing, they were on notice that placing an ankle strap—a device that
14    locks an individual’s feet together—on Plaintiff could be medically harmful. See id. at
15    1059–62; Seizure Training at 3; Defs.’ Exs. at 182:9–13. Despite this understanding, the
16    Deputies still applied the ankle strap to restrain Plaintiff’s leg movements even though he
17    was seizing, not resisting or posing a threat. Banaga Report at 3; Seizure Training at 3.
18    Thus, as in Drummond, the officers here applied more force than necessary to quell
19    resistance or threats to safety. See id. at 1057–58 (finding force excessive where officers
20    applied violent force even though the plaintiff was already subdued). Likewise, in applying
21    the ankle strap, the Deputies exceeded what was necessary to meet Plaintiff’s safety and
22    medical needs. See Irwin Decl. ¶¶ 10, 13; cf. Ames, 846 F.3d at 349 (finding force
23    reasonable because medically necessary). While restraining Plaintiff earlier for purposes
24    of addressing an immediate and significant medical need was objectively reasonable, there
25    was no need to impose an ongoing leg restraint on a seizing individual in a moment when
26    he was medically stable and there was no need for emergency intervention. Cf. Ames, 846
27    F.3d at 349. Although the Deputies claim that they intended to protect Plaintiff from falling
28    and help safely transport him to the ambulance, Drummond clearly establishes that an

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 1    officer’s subjective goodwill is not determinative of whether his actions were reasonable.
 2    See Drummond, 343 F.3d at 1057 (finding that officers used excessive force even though
 3    they acted with the intent of protecting mentally unsound plaintiff); Defs.’ Exs. at 282:11.
 4    Thus, the Court concludes that a reasonable officer in the Deputies’ position would have
 5    realized that locking Plaintiff’s legs together by using the ankle strap while he was
 6    seizing—thereby, restraining Plaintiff beyond what was necessary for his and others’
 7    safety—violates the clear prohibition established in Drummond. See 343 F.3d at 1057–62;
 8    see also Slater v. Deasey, 789 Fed. Appx. 17, 21–22 (9th Cir. 2019) (finding that additional
 9    pressure after the plaintiff was already restrained and not resisting was unconstitutional
10    pursuant to Drummond).
11          The Court therefore finds that the Deputies are not eligible for qualified immunity
12    and denies Defendants’ motion for summary judgment on this phase of the interaction.
13    C. Whether Sergeant Garcia and Lieutenant Martinez Are Subject to Supervisory
14    Liability for their Deputies Actions
15          Next, the Court addresses Defendants’ arguments that Sergeant Garcia and
16    Lieutenant Martinez are entitled to qualified immunity because they neither knew about
17    nor allowed the Deputies’ purported constitutional violations.
18          “A supervisory official is liable under Section 1983 so long as there exists either (1)
19    his or her personal involvement in the constitutional deprivation, or (2) a sufficient causal
20    connection between the supervisor’s wrongful conduct and the constitutional violation.”
21    Rodriguez v. County of Los Angeles, 891 F. 3d 776, 798 (9th Cir. 2018). The required
22    causal connection exists where the supervisor refuses to terminate the actions of their
23    subordinates when they knew, or reasonably should have known, that those actions would
24    cause others to suffer a constitutional violation. Starr v. Baca, 652 F.3d 1202, 1207–08
25    (9th Cir. 2011); Maxwell v. County of San Diego, 708 F.3d 1075, 1086 (9th Cir. 2023).
26       1. Sergeant Garcia’s Knowledge of the Events
27          Constitutional Violation
28          There is no record evidence indicating that Sergeant Garcia knew Plaintiff was

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 1    having a seizure or how the Deputies acted in response. The only evidence in the record
 2    about Sergeant Garcia’s involvement in these events indicates that he was in the hallway
 3    between the medical holding cell and medical examination room for some portion of the
 4    events and that he spoke to Lieutenant Martinez at some time.14 SUF ¶ 94; Defs.’ Exs. at
 5    413:19–414:4. Although Sergeant Garcia attested that he was there to provide support,
 6    there is no evidence in the record that he saw Plaintiff’s behaviors or the Deputies’
 7    responses, or that he was provided this information in any other way. Defs.’ Exs. at
 8    436:15–437:9. As “mere presence” at the scene does not create a triable issue regarding a
 9    supervisor’s knowledge, the Court finds that a reasonable jury could not find that Sergeant
10    Garcia was aware of Plaintiff’s situation or the Deputies’ responsive actions. See Jones v.
11    Williams, 297 F.3d 930, 939 (9th Cir. 2002). Because Plaintiff has failed to establish a
12    triable issue of whether Sergeant Garcia was aware that the Deputies restrained Plaintiff
13    while he had a seizure, the Court finds that Defendants have proven as a matter of law that
14    Sergeant Garcia did not “knowingly” refuse to terminate the Deputies’ alleged
15    constitutional violations. See Starr, 652 F.3d at 1207–08. Accordingly, the Court grants
16    Defendants’ motion for summary judgment with respect to Sergeant Garcia and dismisses
17    him from the case.
18       2. Lieutenant Martinez’s Knowledge of the Events
19           Constitutional Violation
20           However, the Court finds that Plaintiff has raised a factual dispute of whether
21    Lieutenant Martinez knew that Plaintiff was experiencing a seizure and that the Deputies
22    restrained him anyway. The record reflects that Lieutenant Martinez stationed himself
23    nearby when the Deputies interacted with Plaintiff so that he could help them handle this
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26           14
                Even though Deputy Bohan’s report reflects that Sergeant Garcia was present during the
      “events,” this vague statement alone does not create a dispute of fact as to whether he observed and
27    witnessed both Plaintiff have a seizure and the Deputies restrain Plaintiff in response in the four instances.
      Bohan Report at 3; Anderson, 477 U.S. at 250 (explaining that a “mere existence of a scintilla of evidence”
28    that supports the Plaintiff’s position is not sufficient to defeat summary judgment).

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 1    evolving crisis. Martinez Dep. at 5:13–6:14; Defs.’ Exs. at 407:22–24. Positioned to
 2    observe and supervise, Lieutenant Martinez saw Plaintiff exhibit seizure-like behaviors
 3    while in the medical examination room. Martinez Dep. at 6:15–22. Lieutenant Martinez
 4    states that he saw Plaintiff trying to stand up in an unbalanced and uncoordinated manner
 5    and slurring his speech at this time. Id.; Defs.’ Exs. at 418:8–419:12. Although Lieutenant
 6    Martinez testified that he did not observe Plaintiff arching his back and straightening his
 7    legs, Defs.’ Exs. at 419:16–420:17, the actions he did see are consistent with seizure
 8    symptoms (“slurred speech” and “purposeless sounds and body movements”). Seizure
 9    Training at 3. Further, these behaviors also resembled those that the Deputies saw and
10    interpreted as “seizure activity.” Le Report at 3 (observing Plaintiff’s body lifting out of
11    the chair); Tapia Report at 3 (witnessing Plaintiff thrashing back and forth); Defs.’ Exs. at
12    100:16–23 (Le testifying that he thought Plaintiff’s movements were a “possible sign of
13    seizure activity”). When viewed in conjunction and in the light most favorable to Plaintiff,
14    the facts that Lieutenant Martinez both observed Plaintiff’s behaviors and received training
15    on seizure symptoms, raise a triable issue of whether he knew that Plaintiff was
16    experiencing seizure symptoms. See Seizure Training at 3; Defs.’ Resp. to Req. Produc.
17    Docs. at 8; Martinez Dep. at 6:15–22. Despite his awareness of Plaintiff’s seizure-like
18    activity and his admitted role of overseeing the Deputies’ response to Plaintiff’s situation,
19    Lieutenant Martinez not only failed to intervene when the Deputies were restraining
20    Plaintiff in the wheelchair, but also compelled the Deputies to use further restraint by
21    sending them the WRAP device, which was ultimately used to lock Plaintiff’s feet
22    together—all of which were contrary to the dictates of their training. See Martinez Dep. at
23    6:15–22; Defs.’ Exs. at 407:22–24, 412:22–413:8.
24          Viewing this evidence in the light most favorable to Plaintiff, the Court concludes
25    that Plaintiff has raised a triable issue of whether Lieutenant Martinez knew that Plaintiff
26    was having a seizure and still allowed the Deputies to restrain him in response.
27    Accordingly, the Court finds a reasonable jury could find that Lieutenant Martinez
28    acquiesced in the Deputies’ excessive force and thus, denies Defendants’ motion for

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 1    summary judgment on this basis. See Starr, 652 F.3d at 1207–08; see e.g. Maxwell, 708
 2    F.3d at 1086 (affirming no summary judgment for supervisory officers where the plaintiff’s
 3    version of the facts indicated that the officers did not intervene but were present nearby
 4    and observed some of their subordinate’s use of force).
 5          Clearly Established Law
 6          As the Court has found that Plaintiff has established a triable issue of whether
 7    Lieutenant Martinez violated Plaintiff’s constitutional rights by acquiescing in the
 8    Deputies’ actions, the Court must examine whether he should have known at the time that
 9    it was unlawful to ignore the Deputies’ use of excessive force.
10          The Ninth Circuit has long held that a supervisory officer is liable for the
11    constitutional violations of his subordinates when he knows of their culpable actions but
12    fails to act. See Starr, 652 F.3d at 1207–08. In Maxwell v. County of San Diego, the Ninth
13    Circuit affirmed that a reasonable jury could find the supervisory officers liable because
14    they were aware of and witnessed their subordinate pepper spray the plaintiff, hit him with
15    a baton, and handcuff him. 708 F.3d at 1086. At the time of the events, the supervisory
16    officers were at a distance down the driveway and only witnessed portions of the unlawful
17    acts (hearing “stop, stop, stop” before the pepper spray was used and a “commotion”), but
18    still did not interfere with their subordinate “taking control” of the situation. Id. Even
19    though they did not participate or approve of their subordinate’s actions, the Court found
20    that the officers were not “mere observers,” but rather that they “tacitly” endorsed their
21    subordinate’s conduct by failing to act.” Id.
22          The Court concludes that the similarities between Maxwell and the facts at issue here
23    would have advised any reasonable supervisory officer in Lieutenant Martinez’s position
24    that his conduct was unlawful under the circumstances. See id.; Kisela, 584 U.S. at 105.
25    Like the supervisory officers in Maxwell, Lieutenant Martinez witnessed the events from a
26    distance—outside the medical examination room—and only observed fragments of the
27    purported constitutional violations: Plaintiff exhibiting possible seizure-like activity and
28    the Deputies’ responses. See 708 F.3d at 1086; Defs.’ Exs. at 405:22–406:1, 418:8–419:12.

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 1    Despite only observing fragments and not directly participating in their subordinates’
 2    actions, the supervisory officers in Maxwell were still found to have tacitly approved of
 3    their subordinate’s excessive force. See 708 F.3d at 1086. Accordingly, a reasonable
 4    supervisor in Lieutenant Martinez’s position would be aware that it was unlawful to allow
 5    the Deputies to restrain Plaintiff while he was having a seizure, even if he was at a distance
 6    and did not witness the full series of events. See id. Moreover, in this case, Lieutenant
 7    Martinez’s actions went beyond the supervisory officers’ conduct in Maxwell as he sent
 8    the WRAP device to the medical examination room, effectively encouraging the Deputies
 9    to restrain Plaintiff in this manner. Defs.’ Exs. at 412:22–413:8. Accordingly, the Court
10    concludes that Lieutenant Martinez had sufficient notice that his conduct was unlawful.
11    See Kisela, 584 U.S. at 105. As this precedent was clearly established at the time the events
12    occurred, the Court finds that Lieutenant Martinez is not eligible for qualified immunity
13    and denies Defendants’ motion for summary judgment on this ground.
14                                        IV. CONCLUSION
15          For the reasons stated on the record during oral argument on October 31, 2024, the
16    Court DENIES Defendants’ motion for summary judgment on the grounds that Plaintiff
17    has not established causation. Summ. J. Tr. at 4–7. The Court GRANTS summary
18    judgment in favor of Defendants on the grounds that Deputy Banaga is entitled to qualified
19    immunity and dismisses him from the case. Id. at 10–24.
20          For the reasons stated above in this opinion, the Court rules as follows. First, the
21    Court GRANTS Defendants’ motion with respect to Deputies Tapia’s, Jacobo’s, Le’s, and
22    Bohan’s use of downward pressure to keep Plaintiff in the recovery position in the medical
23    examination room. Mot. Summ. J. Second, the Court DENIES Defendants’ motion as to
24    (1) Deputy Le’s use of downward pressure in the holding cell; (2) Deputies Le’s and
25    Tapia’s use of downward pressure to keep Plaintiff in the wheelchair; and (3) Deputies
26    Tapia’s, Jacobo’s, Le’s, and Bohan’s application of the WRAP ankle device on Plaintiff.
27    Id. Third, the Court GRANTS Defendants’ summary judgment motion with respect to
28    Sergeant Garcia’s supervisory liability and DISMISSES him from the case. Id. Lastly, it

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 1    DENIES Defendants’ motion pertaining to Lieutenant Martinez’s supervisory liability. Id.
 2    [Dkt. 92].
 3          IT IS SO ORDERED
 4    Dated: March 28, 2025
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